                                      Case 16-12521-RGM               Doc 25     Filed 08/30/16 Entered 08/30/16 11:51:17                        Desc
10
                                                                                     Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: MICHELLE NAOMI CAMPBELL-THOMAS                                                                   Case No.: 16-12521-RGM

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Thomas P. Gorman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 07/22/2016.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was converted on 08/22/2016.
6) Number of months from filing or conversion to last payment: 0.
7) Number of months case was pending: 1.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:                 $.00
       Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                       $.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                      $.00
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                          $.00
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $.00

 Attorney fees paid and disclosed by debtor:                   $.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal           Interest
Name                                        Class            Scheduled         Asserted            Allowed     Paid                Paid

NA                                          NA                          NA           NA                NA             .00                 .00
Page 1 of 2                                                                                                    UST Form 101-13-FR-S (9/1/2009)
                                         Case 16-12521-RGM           Doc 25       Filed 08/30/16 Entered 08/30/16 11:51:17                       Desc
10
                                                                                      Page 2 of 2
                                 UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF VIRGINIA
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In re: MICHELLE NAOMI CAMPBELL-THOMAS                                                                   Case No.: 16-12521-RGM

                Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
NA                                          NA                        NA              NA               NA             .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim         Principal           Interest
                                                                                                 Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00            .00                 .00
     Mortgage Arrearage:                                                                               .00            .00                 .00
     Debt Secured by Vehicle:                                                                          .00            .00                 .00
     All Other Secured:                                                                                .00            .00                 .00
 TOTAL SECURED:                                                                                        .00            .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00            .00                 .00
     Domestic Support Ongoing:                                                                         .00            .00                 .00
     All Other Priority:                                                                               .00            .00                 .00
 TOTAL PRIORITY:                                                                                       .00            .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                           .00            .00                 .00
 Disbursements:
        Expenses of Administration:                                                                  $.00
        Disbursements to Creditors:                                                                  $.00
 TOTAL DISBURSEMENTS:                                                                                                                   $.00

     12) The trustee certifies that the foregoing summary is true and complete and all administrative matters for which the trustee is
     responsible have been completed. The trustee requests that the trustee be discharged and granted such other relief as may be just
     and proper.


                  Date:     08/30/2016                                     By:   /s/Thomas P. Gorman
                                                                                 Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 1 of 2                                                                                                    UST Form 101-13-FR-S (9/1/2009)
